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																							Opinion and Summaries

											
					
				

													
			
		
	


						
				

					
			2021 OpinionsWeb Editor2021-03-15T07:34:09-04:00
			
			
				DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.
March
March 15, 2021

S20G0601. CHAM et al. v. ECI MANAGEMENT CORPORATION et al.
S20A1143. NEUMAN v. THE STATE
S20A1505, S20A1506. PENDER v. THE STATE
S20A1520. MOSS v. THE STATE
S20A1522. DUKE v. THE STATE
S20A1528. MCGARITY v. THE STATE


March
March 1, 2021 – SUMMARIES for NOTEWORTHY&nbsp;OPINIONS

S20A1104. HARRISON v. THE STATE
S20A1196. GIALENIOS v. THE STATE
S20A1245. JONES v. THE STATE
S20A1297, S20A1298. BUTLER v. THE STATE (two cases)
S20A1469. FINNEY v. THE STATE
S20A1476. STRICKLAND v. THE STATE
S20A1539. PEARSON v. THE STATE
S20A1548. MCKELVEY v. THE STATE
S21A0006. VOLKOVA v. THE STATE
S21A0334. GADDY v. THE STATE
S21A0396. SWINSON v. THE STATE
S21Y0339. IN THE MATTER OF L. NICOLE BRANTLEY
S21Y0357. IN THE MATTER OF GEORGE MICHAEL PLUMIDES
S21Y0378. IN THE MATTER OF WILLIE GEORGE DAVIS, JR.
S21Y0582. IN THE MATTER OF DAVENIYA FISHER
S21Y0672. IN THE MATTER OF EVELYN A. MILLER


February
February 15, 2021

S20A1205. POLO GOLF AND COUNTRY CLUB HOMEOWNERS ASSOCIATION, INC. v. CUNARD et al. 2-15-2021 Substitute opinion issued.

February
February 15, 2021

S20C1464. GWINNETT COUNTY v. CITY OF NORCROSS et al.&nbsp; &nbsp;ORDER

February
February 15, 2021 – SUMMARIES for NOTEWORTHY&nbsp;OPINIONS

S20A1093. SUGGS v. THE STATE
S20A1101. LOFTON v. THE STATE
S20A1120. SMITH v. THE STATE
S20A1157. CARSTON v. THE STATE
S20A1223. HURSTON v. THE STATE
S20A1552. CHAMP v. THE STATE
S21A0244. MIMS v. THE STATE
S21Y0158. IN THE MATTER OF DAVID R. SICAY-PERROW
S21Y0468. IN THE MATTER OF PATRICK A. POWELL
S21Y0603. IN THE MATTER OF JEFFREY BULL GRABLE

February
February 5, 2021

S18Y0821. IN THE MATTER OF DAVID E. MORGAN III&nbsp; Reinstatement issued.

February
February 1, 2021 – SUMMARIES for NOTEWORTHY&nbsp;OPINIONS

S20G0528. JEFFERSON v. THE STATE
S20G0584. OCONEE COUNTY v. CANNON et al.
S20A1205. POLO GOLF AND COUNTRY CLUB HOMEOWNERS ASSOCIATION, INC. v. CUNARD et al.&nbsp; 2-15-2021 Substitute opinion issued.
S20A1230. KITCHENS v. THE STATE
S20A1477. JORDAN v. THE STATE
S20A1571. HENDERSON v. THE STATE
S20A1574, S20X1575. HALL, WARDEN v. JACKSON (and vice versa)
S21A0113. KIRKLAND v. THE STATE
S21A0256. ALLEN v. THE STATE
S21A0381. MIDDLEBROOKS v. THE STATE
S21Y0355. IN THE MATTER OF WILLIAM D. THOMPSON JR.
S21Z0449. IN THE MATTER OF STEPHEN VINCENT FITZGERALD, JR.


January
January 11, 2021

S20A1118. PALMER v. THE STATE

S21A0207. NESBY v. THE STATE

S20A1288. HARPER v. THE STATE

S20A1289. JOHNSON v. THE STATE

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